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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 FUEL AUTOMATION STATION, LLC,

          Plaintiff,                                        CASE NO.: 1:20-CV-01492-STV

          V.                                                  JURY TRIAL DEMANDED

 FRAC SHACK INC.,

          Defendant.

                 MOTION TO RESTRICT DEFENDANT ENERGERA, INC’S
                       MOTION FOR SUMMARY JUDGMENT

         Pursuant to D.C.COLO.LCIVR 7.2, Defendant Energera, Inc. (“Energera”) moves to

maintain Level 1 restricted access to the unredacted version of Defendant Energera, Inc.’s Motion

for Summary Judgment corresponding to the redacted version available as Exhibits A to this

motion.

         On August 2, 2021, the Court entered a Stipulated Protective Order (“Protective Order”).

[Doc. 78]. Pursuant to it, any party desiring to file with the court any document marked

Confidential or Highly Confidential must make a good faith attempt to do so in accordance with

the court’s practices for filing a document under seal. See id.

         In support of its Motion for Summary Judgment (“Motion”), Energera intends to file as

evidence documents produced by Plaintiff Fuel Automation Station, LLC (“FAS”) or deposition

testimony by its employees that Plaintiff asserted was considered Confidential or Highly

Confidential under the Protective Order.

         The Court requires a motion to restrict public access shall be open to public inspection and

shall:

         (1) identify the document or the proceeding for which restriction is sought;


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       (2) address the interest to be protected and why such interest outweighs the presumption
       of public access (stipulations between the parties or stipulated protective orders with regard
       to discovery, alone, are insufficient to justify restriction);

       (3) identify a clearly defined and serious injury that would result if access is not restricted;

       (4) explain why no alternative to restriction is practicable or why only restriction will
       adequately protect the interest in question (e.g., redaction, summarization, restricted access
       to exhibits or portions of exhibits); and

       (5) identify the level of restriction sought.

D.C.COLO.LCivR 7.2

                                          DOCUMENTS

Exhibit A: Settlement Agreement

       The first document sought to be restricted is a confidential written settlement agreement

dated July 19, 2019(Exhibit A to Motion). It was previously filed with the Court under seal and to

which the Court restricted access. [Doc. 58]. The parties have an interest in preserving the

confidentiality of their settlement agreement. See, e.g., Early v. Aurora Corp. Plaza, LLC, No. 16-

cv-4174-DDC-KGG, 2017 U.S. Dist. LEXIS 127375, at *2 (D. Kan. Aug. 10, 2017) (recognizing

that “the interest in preserving the result of confidential settlement negotiations outweighs the

public interest in accessing the settlement agreement”). Moreover, allowing a confidential

settlement agreement to become public would chill future settlement efforts. And allowing the

public to see the Agreement would be further prejudicial to both parties from a business standpoint,

as it could allow the parties’ competitors and customers to gain access to sensitive and confidential

competitor information. It is not possible to file an unredacted version of the Agreement, but the

motion to which it is attached is being filed in a redacted version for public access. Accordingly,

Defendant seeks to have Exhibit A of the restricted to Level 1 restriction.




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Exhibit C: Deposition Excerpt of Michael J. Evans

        Energera intends to proffer deposition testimony by Michael J. Evans, an employee of FAS.

The deposition testimony relates to Mr. Evans testifying regarding a document produced by FAS

that it marked as Highly Confidential pursuant to the Protective Order. FAS contends that the

underlying document relates to sensitive and confidential business information that it does not

want disclosed to the public. Energera has filed a redacted and unredacted version of Exhibit B,

but seeks to have the unredacted version restricted to Level 1 restriction.

Exhibit D: Deposition Excerpt of Clifton Dodge

        Energera intends to proffer deposition testimony by Clifton Dodge, an employee of FAS.

At the deposition, FAS’s counsel marked the entirety of the transcript as Highly Confidential. FAS

that it marked as Highly Confidential pursuant to the Protective Order. FAS contends that the

underlying document relates to sensitive and confidential business information that it does not

want disclosed to the public. Because the entirety of the document has been marked Highly

Confidential, it is not possible for Energera to file a redacted version. Accordingly, Energera seeks

to have the filed version restricted to Level 1 restriction.

Exhibit E: Deposition Excerpt of Michael D. Meredith

        Energera intends to proffer deposition testimony by Michael Meredith, an employee of

FAS. At the deposition, FAS’s counsel marked the entirety of the transcript as Highly Confidential.

FAS that it marked as Highly Confidential pursuant to the Protective Order. FAS contends that the

underlying document relates to sensitive and confidential business information that it does not

want disclosed to the public. Because the entirety of the document has been marked Highly

Confidential, it is not possible for Energera to file a redacted version. Accordingly, Energera seeks

to have the filed version restricted to Level 1 restriction.



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Exhibit F: FAS Talking Points

        Energera intends to proffer Exhibit F, a document produced by FAS that it marked as

Highly Confidential. FAS contends that the underlying document relates to sensitive and

confidential business information that it does not want disclosed to the public. Because the entirety

of the document has been marked Highly Confidential, it is not possible for Energera to file a

redacted version. Accordingly, Energera seeks to have the filed version restricted to Level 1

restriction.

Exhibit G: FAS Answers to Interrogatories

        Energera intends to proffer Exhibit G, excerpts of FAS’s answers to interrogatories

served in this litigation. FAS marked the answers as Confidential. FAS contends that the

answers relate to sensitive and confidential business information that it does not want

disclosed to the public. Because the entirety of the document has been marked Confidential, it is

not possible for Energera to file a redacted version. Accordingly, Energera seeks to have the filed

version restricted to Level 1 restriction.

        Accordingly, Enegera respectfully requests an order from the Court restricting access to

the unredacted copy of its Motion for Summary Judgment and Exhibits A, C-F to Level 1

restriction.




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DATED: April 8, 2022.                       Respectfully submitted,


                                            /s/ Corby R. Vowell
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                                            ATTORNEY FOR DEFENDANT
                                            ENERGERA INC.,

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of April, 2022, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, District of Colorado, using the
electronic case filing system of the court. The electronic case filing system sent a “Notice of
Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice
as service of this document by electronic means.


                                            /s/ Corby R. Vowell




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